Case 3:22-cv-00049-NKM-JCH Document 251 Filed 07/11/23 Page 1 of 6 Pageid#: 2948



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                CHARLOTTSVILLE DIVISION

   BABY DOE, et al.,

                   Plaintiffs,
                                                                CIVIL NO: 3:22-cv-00049-NKM-JCH
           -v.-

   JOSHUA MAST, et al.,

                   Defendants,

   and

   UNITED  SECRETARY                 OF      STATE
   ANTONY BLINKEN, et al.

                   Nominal Defendants.


                  DEFENDANT RICHARD MAST’S RESPONSE IN SUPPORT OF
                                  MOTION TO STAY DISCOVERY

         Defendant Richard Mast supports, joins, and hereby responds to Defendants Joshua and

 Stephanie Mast’s motion to stay discovery.

         Defendants Joshua and Stephanie Mast filed a motion to stay discovery (Dkt. No. 237) and a

 memorandum in support (Dkt. No. 238) (cited henceforth as “Mem.”). Defendant Richard Mast supports

 and joins in this motion for the reasons set forth in the motion and in its accompanying memorandum.

 Defendant Richard Mast responds further herein to address a position raised earlier in this litigation by

 Plaintiffs, which they have also raised in opposition to the motion.

         As the motion points out, and as the supplemental authority filings in this Court providing the

 various Virginia state court rulings (see, e.g., Dkt. No 225) make clear, the parties in this litigation

 continue to extensively litigate the validity of the adoption of Baby Doe in the state courts of the

 Commonwealth of Virginia. Indeed, that litigation preceded this federal litigation, has undergone

 extensive discovery, motion practice, and evidentiary hearings with live testimony, and is now before the


                                                     1
Case 3:22-cv-00049-NKM-JCH Document 251 Filed 07/11/23 Page 2 of 6 Pageid#: 2949



 Virginia Court of Appeals, after having been heard on certain issues by the Virginia Supreme Court.

         Inter alia, a central issue before the Virginia Court of Appeals is whether John and Jane Doe are,

 or ever were, legal guardians or even legal custodians of Baby Doe. (Mem. at 3; Def. Richard Mast

 Supplemental Authority [Dkt. No. 225] at 1-2). It is Defendant Richard Mast’s position that all of the

 causes of action of the Amended Complaint require Plaintiffs to establish, either directly or indirectly,

 that at the time of the alleged tortious conduct they were either legal guardians or legal custodians of

 Baby Doe. As we point out below, this is required as a matter of both substantive law and standing.

 Insofar as this is entirely a state law question and fundamentally at issue in the state court proceedings,

 which are far more advanced than this litigation, the motion presents good cause for the Court to exercise

 its discretion to stay discovery until the Virginia state courts have made this fundamental determination.

 Plaintiffs, for their part, take the rather strained position that at least for Counts II through V 1 (i.e.,

 fraud, civil conspiracy, intentional infliction of emotional distress [“IIED”], and false imprisonment)

 they need not establish that they are legal guardians or legal custodians of Baby Doe. (See Pls.’

 Resp. to Def. Richard Mast’s Notice of Suppl. Auth. [Dkt. No. 227] at 1-2). 2


 1
   Count I of the Amended Complaint alleges tortious interference with parental rights (Am. Compl.
 [Dkt. No. 68] at 36-37), which quite obviously requires Plaintiffs to allege they are legal guardians
 or custodians of Baby Doe. Wyatt v. McDermott, 283 Va. 685, 699, 725 S.E.2d 555, 562 (2012)
 (holding that the first of the four elements of such a claim is that “the complaining parent has a right
 to establish or maintain a parental or custodial relationship with his/her minor child). If John and
 Jane Doe have no legal right to custody, either under Afghan law as it existed at the relevant time or
 under Virginia law, they cannot satisfy even the first prong of a prima facie case of tortious
 interference with parental rights.
 2
   In their opposition to Defendants’ respective motions to dismiss, Plaintiffs make a similar argument
 as to Counts II through V of the Amended Complaint but argue these tort claims “stand even if the
 [Virginia Court] Adoption Order were not void.” (Pls.’ Opp’n to Motions to Dismiss [Dkt. No. 113]
 at 5-7; see also Pls.’ Opp’n to Mot. to Stay Discovery [Dkt. No. 250] at 2-3 just filed, wherein
 Plaintiffs make the same argument. Without putting too fine a point on the matter, the critical
 questions for purposes of this litigation and currently on appeal in the Virginia Court of Appeals are
 whether John and Jane Doe have any legal claim as parents, guardians, or custodians (1) to challenge
 the adoption, (2) to claim some right to notice of the adoption proceedings, or (3) to obtain custody
 at the end of the day. While the validity of the adoption order is quite obviously tied to those
 questions, what is key to this litigation is whether Jane and John Doe occupy a legal status that (a)
 creates a duty of care that could give rise to a claim of a breach of duty that amounts to fraud, civil
 conspiracy, IIED, or false imprisonment. We address these points more particularly in the text infra.
                                                      2
Case 3:22-cv-00049-NKM-JCH Document 251 Filed 07/11/23 Page 3 of 6 Pageid#: 2950



        We need not spill much ink over the nexus between Count I’s claim of interference with

 parental rights and the factual-legal determination of whether John and Jane Doe are legal guardians

 or legal custodians of Baby Doe. (See supra note 1.) As to Count II, Plaintiffs’ fraud claim is

 necessarily based upon a duty owed to them by Defendants precisely because they assert without

 evidence that they were Baby Doe’s legal guardians. In other words, Plaintiffs’ fraud claim is

 predicated on a duty not to abduct a child based upon deceit. (See, e.g., Am. Compl. at ¶ 162). But

 there can be no duty owed to a couple who have no legal right to Baby Doe. Moore v. Gregory, 146

 Va. 504, 523, 131 S.E. 692, 697 (1925) (“Actual fraud is intentional fraud; it consists in deception,

 intentionally practiced, to induce another to part with property or to surrender some legal right and

 which accomplishes the end designed.”) (cleaned up) (emphasis added). Even putting aside the

 antecedent questions whether John Doe’s father had legal custody of Baby Doe under Afghan law,

 and further whether he had the right to simply pawn her off to his son as some kind of chattel, if John

 and Jane Doe did not have legal custody of Baby Doe pursuant to Afghan law, they could not have

 been defrauded by the Masts who had an order of sole custody at the very least. Baby Doe was

 neither Plaintiffs’ property nor did they have a legal right to her.

        While less direct, the same is true of the claim for IIED. A cause of action for IIED only

 arises when the intentional or reckless act is outrageous and intolerable:

        To recover for intentional infliction of emotional distress, a plaintiff must establish
        that (1) the wrongdoer’s conduct was intentional or reckless; (2) the conduct was
        outrageous and intolerable; (3) there was a causal connection between the
        wrongdoer’s conduct and the emotional distress; and (4) the emotional distress was
        severe.
        In contrast to a claim of negligence, a plaintiff alleging a claim for intentional
        infliction of emotional distress must allege in her complaint all facts necessary to
        establish the cause of action in order to withstand challenge on demurrer. Liability
        is present only when the conduct has been so outrageous in character, and so
        extreme in degree, as to go beyond all possible bounds of decency, and to be
        regarded as atrocious, and utterly intolerable in a civilized community. It is for the
        court to determine, in the first instance, whether the defendant’s conduct may
        reasonably be regarded as so extreme and outrageous as to permit recovery.

                                                     3
Case 3:22-cv-00049-NKM-JCH Document 251 Filed 07/11/23 Page 4 of 6 Pageid#: 2951




 Doe v. Baker, 299 Va. 628, 654-55, 857 S.E.2d 573, 589 (2021).

         Even assuming arguendo that Defendants misled Plaintiffs about their intentions, which

 Defendants most certainly deny, it is hard to imagine a scenario where Virginia parents with an order

 of guardianship have acted outrageously and intolerably to gain physical custody from two

 interlopers with physical custody of a child acquired only in the fog of war, with the backdrop of a

 collapsing government, and in violation of the very Afghan laws they fraudulently assert establish

 their legal claims. Indeed, this is underscored by the Amended Complaint itself, wherein Plaintiffs

 allege: “Masts conspired to separate Baby Doe unlawfully from the only family she had ever known

 for the vast majority of her short life. It is implausible that someone would be unaware of the extreme

 trauma that would be inflicted on parents when their child is ripped from their arms by someone

 who had for months been claiming that all he wanted was to help them. (Am. Compl. at ¶ 190).

         Likewise, Plaintiffs claim false imprisonment based upon their claim that they had valid and

 legal custody of the child and that the Masts had no such claim. (See Am. Compl. at ¶¶ 198-99). If

 John and Jane Doe have never had legal custody of Baby Doe and Defendants Joshua and Stephanie

 Mast had obtained a still extant Virginia court order of sole custody and a still extant interlocutory

 order of adoption, it is unclear exactly how they claim that the Masts tortiously imprisoned Baby

 Doe.

         Finally, we note that the civil conspiracy claim simply alleges that the bad acts alleged in

 Counts I, II, IV, and V were the product of a conspiracy. If the underlying counts fail, Count III

 necessarily fails.

         In sum, this litigation is entirely dependent upon John and Jane Doe’s status as legal

 guardians or legal custodians of Baby Doe. The factual and legal issues that will provide an answer

 to this fundamental question—an essential predicate for this litigation—already have undergone

 testimonial stress testing in the Virginia circuit court and is now poised to fully analyzed by the

                                                    4
Case 3:22-cv-00049-NKM-JCH Document 251 Filed 07/11/23 Page 5 of 6 Pageid#: 2952



 Virginia appellate courts. A stay of discovery is both logical and prudent. Indeed, it is unclear why

 Plaintiffs argue that the federal case for money damages should proceed without the more

 fundamental and necessary Virginia state law issues resolved.

        For the reasons set forth in the motion to stay discovery, and as further set forth herein,

 Defendant Richard Mast respectfully requests that the Court stay discovery as set forth in the motion.

 Dated: July 11, 2023                          Respectfully submitted,


                                               /s/David Yerushalmi
                                               David Yerushalmi, Esq.*
                                               American Freedom Law Center
                                               2020 Pennsylvania Avenue NW, Suite 189
                                               Washington, D.C. 20006
                                               (*Admitted pro hac vice)

                                               E. Scott Lloyd
                                               Lloyd Law Group, PLLC
                                               Va. Bar # 76989
                                               20 E. 8th Street, Suite 3
                                               Front Royal, VA 22630
                                               Office: (540) 823-1110
                                               Cell: (540) 631-4081
                                               Fax: (540) 583-4279
                                               scott@lloydlg.com

                                               Counsel for Defendant Richard Mast




                                                   5
Case 3:22-cv-00049-NKM-JCH Document 251 Filed 07/11/23 Page 6 of 6 Pageid#: 2953



                                   CERTIFICATE OF SERVICE

        I hereby certify that on July 11, 2023, a copy of the foregoing was filed electronically. Notice

 of this filing will be sent to all parties for whom counsel has entered an appearance by operation of

 the Court’s electronic filing system. Parties may access this filing through the Court’s system. I

 further certify that a copy of the foregoing has been served by ordinary U.S. mail upon all parties for

 whom counsel has not yet entered an appearance electronically: none.

                                                       /s/David Yerushalmi
                                                       David Yerushalmi, Esq.




                                                   6
